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“EXHIBIT A”

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG § CIVIL ACTION NO. 10-2771
“DEEPWATER HORIZON” § MDL NO. 2179
IN THE GULF OF MEXICO, § SECTION: “J”
ON APRIL 20, 2010 §
§
§ JUDGE CARL BARBIER
§ MAG. JUDGE SALLY SHUSHAN
IN RE: TRITON ASSET LEASING §
GmbH, et al §

CLAIM AND ANSWER TO COMPLAINT AND PETITION FOR EXONERATION
FROM OR LIMITATION OF LIABILITY OF COURTNEY KEMP, INDIVIDUALLY,
AS REPRESENTATIVE OF THE ESTATE OF ROY WYATT KEMP,

AND AS NATURAL TUTORIX OF K.J.K AND C.M.K., MINOR CHILDREN

So ate ote ale ate of.

Be He De He oe ae Hee ae He eve Be ee ea ae He ve He ae ae Bee oe a eae ae ae ak oe a ae de a de ae ae oe ak ae de a ae ae ae dak dee ak dk ak dak kek ke eek eek ek

Filed on April 20, 2011
In Case Number: 2:10-cv-02771-CJB-SS
Docket Number: 428

